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  COVID-19


Frequently Asked Questions about COVID-19 Vaccination
Updated Sept. 9, 2021      Print




     •    Below are answers to commonly asked questions about COVID-19 vaccination.

     •    Bust myths and learn the facts about COVID-19 vaccines




    How long do I need to wait after getting another vaccine before getting a COVID-19 vaccine?




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   You can get a COVID-19 vaccine and other vaccines at the same visit. You no longer need to wait 14 days between
   vaccinations. Experience with other vaccines has shown that the way our bodies develop protection, known as an
   immune response, after getting vaccinated and possible side effects of vaccines are generally the same when given
   alone or with other vaccines. Learn more about the timing of other vaccines.



    If I have already had COVID-19 and recovered, do I still need to get vaccinated with a COVID-19




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    vaccine?


   Yes, you should be vaccinated regardless of whether you already had COVID-19 because:


      •   Research has not yet shown how long you are protected from getting COVID-19 again after you recover from
          COVID-19.

      •   Vaccination helps protect you even if you’ve already had COVID-19.

   Evidence is emerging that people get better protection by being fully vaccinated compared with having had COVID-19.
   One study showed that unvaccinated people who already had COVID-19 are more than 2 times as likely than fully
   vaccinated people to get COVID-19 again.

   If you were treated for COVID-19 with monoclonal antibodies or convalescent plasma, you should wait 90 days before
   getting a COVID-19 vaccine. Talk to your doctor if you are unsure what treatments you received or if you have more
   questions about getting a COVID-19 vaccine.


   If you or your child has a history of multisystem inflammatory syndrome in adults or children (MIS-A or MIS-C), consider
   delaying vaccination until you or your child have recovered from being sick and for 90 days after the date of diagnosis
   of MIS-A or MIS-C. Learn more about the clinical considerations for people with a history of multisystem MIS-C or MIS-A.

   Experts are still learning more about how long vaccines protect against COVID-19. CDC will keep the public informed as
   new evidence becomes available.


   Related pages:


      •   Benefits of Getting Vaccinated

      •   Preparing for Your COVID-19 Vaccination
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Can I get vaccinated against COVID-19 while I am currently sick with COVID-19?




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No. People with COVID-19 who have symptoms should wait to be vaccinated until they have recovered from their
illness and have met the criteria for discontinuing isolation; those without symptoms should also wait until they meet
the criteria before getting vaccinated. This guidance also applies to people who get COVID-19 before getting their
second dose of vaccine.


People who have had a known COVID-19 exposure should not seek vaccination until their quarantine period has ended
to avoid potentially exposing healthcare personnel and others during the vaccination visit. This recommendation also
applies to people with a known COVID-19 exposure who have received their first dose of an mRNA vaccine but not their
second.

Related pages:


  •    When to Quarantine

  •    Ending Home Isolation




What are the ingredients in COVID-19 vaccines?




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Vaccine ingredients vary by manufacturer. None of the vaccines contain eggs, gelatin, latex, or preservatives. All COVID-
19 vaccines are free from metals such as iron, nickel, cobalt, lithium, and rare earth alloys. They are also free from
manufactured products such as microelectronics, electrodes, carbon nanotubes, or nanowire semiconductors.

To learn more about the ingredients in authorized COVID-19 vaccines, see


  •    Pfizer-BioNTech COVID-19 Vaccine Overview and Safety

  •    Moderna COVID-19 Vaccine Overview and Safety

  •    Johnson & Johnson’s Janssen COVID-19 Vaccine Overview and Safety

  •    Ingredients Included in COVID-19 Vaccines




How long does protection from a COVID-19 vaccine last?                                                                       



We don’t know how long protection lasts for those who are vaccinated. What we do know is that COVID-19 has caused
very serious illness and death for a lot of people. If you get COVID-19, you also risk giving it to loved ones who may get
very sick.

People with moderately to severely compromised immune systems should receive an additional dose of mRNA COVID-
19 vaccine after the initial 2 doses.
Learn more about population immunity.


      Learn more about Booster Shots.




Related pages:


  •    Vaccines Work

  •    Booster Shots

  •    Moderately to Severely Immunocompromised People
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How can I get a new COVID-19 vaccination card?




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If you need a new vaccination card, contact the vaccination provider site where you received your vaccine. Your
provider should give you a new card with up-to-date information about the vaccinations you have received.

If the location where you received your COVID-19 vaccine is no longer operating, contact your state or local health
department’s immunization information system (IIS) for assistance.

CDC does not maintain vaccination records or determine how vaccination records are used, and CDC does not provide
the CDC-labeled, white COVID-19 vaccination record card to people. These cards are distributed to vaccination
providers by state and local health departments. Please contact your state or local health department if you have
additional questions about vaccination cards or vaccination records.

Related page:


  •   COVID-19 Vaccines that Require 2 Shots




Can I choose which COVID-19 vaccine I get?




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Yes. All currently authorized and recommended COVID-19 vaccines are safe and effective, and CDC does not
recommend one vaccine over another. The most important decision is to get a COVID-19 vaccination as soon as
possible. Widespread vaccination is a critical tool to help stop the pandemic.

People should be aware that a risk of a rare condition called thrombosis with thrombocytopenia syndrome (TTS) has
been reported following vaccination with the J&J/Janssen COVID-19 Vaccine. TTS is a serious condition that involves
blood clots with low platelet counts. This problem is rare, and most reports were in women between 18 and 49 years
old. For women 50 years and older and men of any age, this problem is even more rare. There are other COVID-19
vaccine options available for which this risk has not been seen (Pfizer-BioNTech, Moderna).


Learn more about your COVID-19 vaccination, including how to find a vaccination location, what to expect at your
appointment, and more.

Related page:


  •   Your Vaccination
  •   Safety of COVID-19 Vaccines

  •   Ensuring COVID-19 Vaccines Work




Do I need to wear a mask and avoid close contact with others if I am fully vaccinated?
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After you are fully vaccinated for COVID-19, take these steps to protect yourself and others:


  •   In general, you do not need to wear a mask in outdoor settings.
  •   If you are in an area with high numbers of COVID-19 cases, consider wearing a mask in crowded outdoor
      settings and when you are in close contact with others who are not fully vaccinated.

  •   If you have a condition or taking medications that weaken your immune system, you may not be fully protected
      even if you are fully vaccinated. You should continue to take all precautions recommended for unvaccinated
      people, including wearing a well-fitted mask, until advised otherwise by their healthcare provider.
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  •    If you are fully vaccinated, to maximize protection from the Delta variant and prevent possibly spreading it to
       others wear a mask indoors in public if you are in an area of substantial or high transmission.

If I have an underlying condition, can I get a COVID-19 vaccine?




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People with underlying medical conditions can receive a COVID-19 vaccine as long as they have not had an immediate
or severe allergic reaction to a COVID-19 vaccine or to any of the ingredients in the vaccine. Learn more about
vaccination considerations for people with underlying medical conditions. Vaccination is an important consideration for
adults of any age with certain underlying medical conditions because they are at increased risk for severe illness from
COVID-19.

Related pages:


  •    Underlying Medical Conditions

  •    People at High Risk

  •    People with Allergies




If I am pregnant or planning to become pregnant, can I get a COVID-19 vaccine?




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Yes, COVID-19 vaccination is recommended for all people 12 years and older, including people who are pregnant,
breastfeeding, trying to get pregnant now, or might become pregnant in the future. You might want to have a
conversation with your healthcare provider about COVID-19 vaccination. While such a conversation might be helpful, it
is not required before vaccination. Learn more about vaccination considerations for people who are pregnant or
breastfeeding.

If you are pregnant and have received a COVID-19 vaccine, we encourage you to enroll in v-safe, CDC’s smartphone-
based tool that provides personalized health check-ins after vaccination. A v-safe pregnancy registry has been
established to gather information on the health of pregnant people who have received a COVID-19 vaccine.


Related pages:


  •    COVID-19 Vaccines for Pregnant or Breastfeeding People

  •    Monitoring Systems for Pregnant People

  •    V-safe Pregnancy Registry

  •    Planning for Pregnancy




How many doses of COVID-19 vaccine will I need to get?
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The number of doses needed depends on which vaccine you receive. To get the most protection:


  •    Two Pfizer-BioNTech vaccine doses should be given 3 weeks (21 days) apart.

  •    Two Moderna vaccine doses should be given 1 month (28 days) apart.

  •    Johnson & Johnsons Jansen (J&J/Janssen) COVID-19 vaccine requires only one dose.

If you receive a vaccine that requires two doses, you should get your second shot as close to the recommended interval
as possible. However, your second dose may be given up to 6 weeks (42 days) after the first dose, if necessary. You
should not get the second dose earlier than the recommended interval.

People with moderately to severely compromised immune systems should receive an additional dose of mRNA COVID-
19 vaccine after the initial 2 doses.

      Learn more about Booster Shots.
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 Related pages:


      •   Pfizer-BioNTech

      •   Moderna

      •   Johnson & Johnson / Janssen

      •   Booster Shot
      •   Moderately to Severely Immunocompromised People




     Why should my child get vaccinated against COVID-19?




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 COVID-19 vaccination can help protect your child from getting COVID-19. Although fewer children have been sick with
 COVID-19 compared to adults, children can be infected with the virus that causes COVID-19, can get sick from COVID-
 19, and can spread the virus that causes COVID-19 to others. Getting your child vaccinated helps to protect your child
 and your family. Vaccination is now recommended for everyone 12 years and older. Currently, the Pfizer-BioNTech
 COVID-19 Vaccine is the only one available to children 12 years and older.

 COVID-19 vaccines have been used under the most intensive safety monitoring in U.S. history, including studies in
 children 12 years and older. Your child cannot get COVID-19 from any COVID-19 vaccine. Like adults, children may have
 some side effects after COVID-19 vaccination. These side effects may affect their ability to do daily activities, but they
 should go away in a few days.

 Related pages:


      •   COVID-19 Vaccines for Children and Teens

      •   Pfizer-BioNTech

      •   Possible Side Effects

      •   Families and Children




Answers to more questions about:
 •    Healthcare Professionals and COVID-19 Vaccines
 •    Vaccines.gov

 •    Vaccine Administration Management System (VAMS)

 •    V-safe after Vaccination Health Checker
                                                                                                         Last Updated Sept. 9, 2021
